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                      UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF TEXAS
                           BEAUMONT DIVISION



    Eric Evans,


                  Plaintiff,                      Case No. 1:25-cv-00094


          v.


    BlofinTYU, Aubree Hanson, Zedxion             Plaintiff’s Emergency
    Exchange Ltd., Elizabeth Newman,              Motion for Extension of
    and John Does 1 – 20,                         Temporary Restraining
                                                  Order
                  Defendants.



         Plaintiff Eric Evans hereby moves to extend the extant Temporary

   Restraining Order under Federal Rule of Civil Procedure 65(b)(2).

         I.       Background

         At Plaintiff’s request, the Court issued a Temporary Restraining Order

   on April 1, 2025 (the “TRO”).1 The TRO required the freezing of

   cryptocurrency accounts associated with Zedxion Exchange and custodied by

   ChainUp Pte. Ltd. to which Plaintiff traced his assets. Plaintiff’s counsel have

   been engaged with law enforcement and ChainUp throughout the period

   since the issuance of the TRO, but have not yet received assurances from




         1 ECF 4.


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   ChainUp that the assets are frozen. If not extended, the TRO will expire on

   April 15, 2025.

         II.    Legal Standard

         Under FRCP 65(b)(2), a TRO may be extended by up to 14 days

   “for good cause.” In crypto-related cases like this one, Courts have

   granted extensions of asset-freezing TROs to allow plaintiffs to

   continue working with exchanges on implementation and information

   gathering in preparation for a motion for preliminary injunction.2

         III.   Request for Extension

         Plaintiff requests that the Court extend the TRO for 14 days to April

   29, 2025. This extension would allow counsel to continue working with law

   enforcement and corresponding with ChainUp to implement the freeze.

         Plaintiff respectfully submits that the considerations outlined above

   show good cause for extension of the TRO under FRCP 65. He requests that

   the Court enter an extension in substantially the form of the Proposed Order

   submitted along with this Motion.




         2  See, e.g., Licht v. Ling, No. 23-cv-01018, Order Granting 14-Day
   Extension of Temporary Restraining Order, pp. 1—2 (N.D. Tex. May 24, 2023)
   (granting extension of asset-freeze TRO in crypto-fraud case where the
   alleged victim was “work[ing] diligently with the exchanges to (1) resolve
   issues related to service and (2) obtain discovery regarding the defendants so
   they can be given notice of the suit and the TRO”); Astrove v. Doe, Case No.
   22-cv-80614, Order Modifying and Extending Temporary Restraining Order,
   passim (S.D. Fla. May 3, 2022) (same).

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    Dated: April 15, 2025                       Respectfully submitted,

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